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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

UNITED STATES
*
Vv. * CRIM. NO, 29-14037-2(ZNQ)
*
WALDIN ESPINOSA-OZOR, .

ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

 

In accordance with Standing Order 2020-06, this Court finds:
That the Defendant (or the Juvenile) has consented to the use of video
teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation
with counsel; and
The proceeding(s) held on this date may be conducted by:

VW} Video Teleconferencing

 

 

 

|__| Teleconferencing, because video teleconferencing is not reasonably available for the

 

following reason:

[| The Defendant (or the Juvenile) is detained at a facility lacking video

teleconferencing capability.

[| Other:

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Date:1 1/2/2020 ie ae, A

Honorable Zahid N.. Quraishi
United States Magistrate Judge
